Case 1:18-cV-01128-PAC Document 17 Filed 02/14/18 Page 1 of 5

IN TI-IE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

THE CENTURY FOUNDATION,
Plaintit`f,
v. No. lS-cv-l lZS-PAC
BETSY DEVOS, in her ojicz'at' capacity, and
the UNITED STATES DEPARTMENT OF
EDUCATION,

Defendants.

 

 

DECLARATION OF TARIQ HABASH
l, Tariq Habash, pursuant to 28 U.S.C. § 1746, hereby dcclare:

1. l am a resident of the District of Colurnbia, am over the age of 18 years, have
personal knowledge of the facts set forth herein, and, if called and sworn as a witness, could and
would testify competently hereto.

2. Since January 2016, I have been employed as a Policy Associate at The Century
Foundation (“TCF”), the Plaintiff in this case, Where I currently Work as a Senior Policy
Associate. Prior to my employment at TCF, I received a Bachelor of Arts in Economics and
Political Science from the University of Miami and a Ed.M in Higher Education Policy from the
Graduate School of Education at Harvard University. At TCF, my current research is focused on
accountability and consumer protection in higher education

3. TCF is a nonpartisan, non-profit section 501(0)(3) organization primarily engaged
in disseminating information to the public. TCF’s mission is to foster opportunity, reduce

inequality, and promote security at home and abroad. To further its mission, TCF gathers

Case 1:18-cV-01128-PAC Document 17 Filed 02/14/18 Page 2 of 5

information, including through responses to FOIA requests submitted to government agencies, in
order to inform the public through disseminating doc uments, reports, analyses, and commentary
via, inter alfa, its website, social media, press releases and other comments to the media, and
regulatory comments to government agencies TCF devotes substantial resources to ensuring that
acerediting agencies comply with the standards for recognition and educating the public and
engaging in advocacy to advance that objective
4. TCF has its principal place of business at One Whitehall Street, New York, NY
10004.
5 . ]n my capacity With TCF, I have testified at numerous public hearings held by the
U.S. Departrnent of Education on regulatory matters in higher education, including on matters
regarding consumer protection and accountability in higher cducation.
6. l have also authored or co-authored numerous studics, commentaries, and reports
on higher education including:
a. College Complaint Unmasked: 99 Percent of Student Fraud Claims Concern For-
Profit Colleges (Nov. 8, 2017) available a:: https:fftcf.orgfcontent/report!college-
complaints-unmasl<edf
b. Department of Education Should Move Forvvard with Consumer Protections (July
12, 201?) available at: https:b“tcf.orgfcontent;’connnentary;’department-educaticn-
move-forward-consumer-protectionsf
c. These Colleges Deny Students Their Legal Rights (June 14, 201 ?) available at.'

https:Htcf.org!content!commentaryfcolleges-deny-students-legal-rights!

Case 1:18-cV-01128-PAC Document 17 Filed 02/14/18 Page 3 of 5

d. A Guide to Trump’s Proposed Student Loan Changes (May 18, 2017) available
at: https:lltcf.orglcontentlconnnentarylguide-trumps-proposed-student-loan-
changesl

e. K-IZ Private School Vouchers and College Pell Grants: An Ill-Fitting
Cornparison (Apr. 24, 201 'l) available at: https:lltcf.org/contentlfactslk-l 2-
private-school-vouchers-college-pell-grants-ill-fitting-comparisonl

f. Filling in the Details of the Trump Student Loan Plan (Dec. 12, 20]6) available
ai: https:lltcf.org/contentlfactsltilling-details-trump~student-loan-planl

g. New Dcpartment of Education Regulations Big Win for Students’ Rights (Oct.
28, 2016) available at: https:lltct`.org/contentlcommentarylnew-department-
education-regulations-big-win-students-rightsl

h. Have Student Loan Guaranty Agencies Lost Their Way'? (Sept. 29, 2016)
available at: https:lltcf.orglcontentlreportlstudent-loan-guaranty-agencies-lost-
Wayl

i. New Rules to Protect Cheated Students (Aug. 5, 2016) available ai:
https:lltcf.orglcontentlcomrnentarylnew-rules-protect-cheated-studentsl

7. ln lune 2016, l testified orally to the National Advisory Committee on
Institutiona] Quality and Intcgrity (“NACIQI”) regarding ACICS and the extent to which ACICS
had met the Department’s criteria for recognition of accrediting agencies

8. l have also assisted my colleagues at TCF with written comments that have been
provided to Department staff regarding the extent to which certain accreditors have met the

criteria for recognition of accrediting agencies set by the U.S. Department of Education.

Case 1:18-cV-01128-PAC Document 17 Filed 02/14/18 Page 4 of 5

9. I have also been quoted, and my reports have been cited, in widely available
publications regarding consumer protection issues in higher education, including the Chicago

Tribune, the Washington Post, Inside Higher Ed, Slate Magazine, MarketWatch, Diverse: Issues
in I-Iigher Education, and the Huftington Post.

10. On January 23, 2013, l reviewed a “Call for written»third party comments” that
was made available for public review in the Federal Register (hereinafter “the Solicitation”). I
have since seen that the same notice was published in the Federal Register on January 24, 2018.

l l. After reviewing the Solicitation, I drafted two requests (“Requests”) for
documents and submitted those requests to the U.S. Department of Education pursuant to the
Freedom of Infonnation Act. The Requests were submitted on lanuary 23, 2018 and sought
expedited processing under FOIA and the Department’s regulations

12. The first of the Requests sought information regarding an application for
recognition as an accreditor by the Accrediting Council for Independent Colleges and Schools
(“ACICS”). A true and correct copy of that request was attached to the Complaint in this case as
Exhibit B [Dkt. No 9-2].

13. The second of the Requests sought information regarding a Complianee Report
submitted by the American Bar Association (“ABA”). A true and correct copy of that request
was attached to the Cornplaint in this case as Exhibit C [Dkt. No 9-3].

14. The Department acknowledged receipt of my requests by email on January 24,
2018.

15. On January 31, 2018, 1 inquired by email as to the status of my requests. A true
and correct copy of that email was attached to the Complaint in this case as Exhibit D [Dkt. No.

9_4].

Case 1:18-cV-01128-PAC Document 17 Filed 02/14/18 Page 5 of 5

16. On February l, 2018, I received a response to my January 31, 2018 email. A true
and correct copy of the Department’s response was attached to the Complaint in this case as
Exhibit E [Dkt. No 9-5].

l'l, On February 6, 2018, 1 received two letters by email from the Department
denying the requests for expediting processing of the Requests. True and correct copies of the
February 6, 2018 denial letters were attached to the Complaint in this case as Exhibit F [Dkt. No.
9-6] and Exhibit G [Dkt. No. 9-?].

18. As of the signing of this Declaration, I have received no additional
communications from the Department regarding my FOIA requests and have not received the
documents requested

19. Had TCF already received copies of the ACICS Application andlor ABA
Compliance Report, l would have sought, in my capacity as an employee of TCF, to educate the
public on the implications of the information and would have organized advocacy strategies to
respond appropriately to these materials, including drafting and submitting comments to the

Department.

Pursuant to 28 U.S.C. § 1246, 1 declare under penalty of perjury that the foregoing is true and

correct.
Executed on February 13, 201 ’l.

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